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      JAMES SHAYLER
 10
 11                         UNITED STATES DISTRICT COURT
 12                        CENTRAL DISTRICT OF CALIFORNIA
 13
      James Shayler,                             Case No.:
 14
 15           Plaintiff,
 16   v.                                         COMPLAINT FOR VIOLATIONS
                                                 OF: AMERICANS WITH
 17   Northern Trust Corporation, a Delaware     DISABILITIES ACT OF 1990, 42
                                                 U.S.C. § 12181 et seq.; UNRUH
 18   Corporation; and Does 1-10,                CIVIL RIGHTS ACT, CALIFORNIA
                                                 CIVIL CODE § 51 et seq.
 19            Defendants.
 20
 21                                              DEMAND FOR JURY TRIAL
 22
 23
 24
 25             Most Americans will become disabled at some point in life.
 26
            Plaintiff James Shayler (hereinafter referred to as “Plaintiff,”) complains of
 27
 28   Northern Trust Corporation, a Delaware Corporation; and Does 1-10 (each,


                                          COMPLAINT
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  1   individually a “Defendant,” and collectively “Defendants”), and alleges as follows:
  2
                                I.     PARTIES
  3
  4         1.     James Shayler has only partial use of his leg and suffers from heart

  5   failure. Plaintiff is a California resident with physical disabilities. Plaintiff has
  6
      difficulty walking and standing. Plaintiff is mobility impaired. Plaintiff is
  7
  8   qualified as being disabled pursuant to 42 U.S.C. § 12102(2)(A), the California
  9   Unruh Civil Rights Act, §§ 51, et seq., 52, et seq., and other statutory laws which
 10
      protect the rights of “disabled persons”. Plaintiff has been issued a blue permanent
 11
 12   disability Disabled Person Parking Placard by the State of California. Plaintiff is a
 13   California resident with physical disabilities.
 14
            2.     Defendant Northern Trust Corporation, a Delaware Corporation owned
 15
 16   the property (“Property”) located at 207 N Sepulveda Blvd, Manhattan Beach, CA
 17   90266, at all relevant times.
 18
            3.     There is a business establishment on the Property known as “Deep
 19
 20   Roots Garden Center & Florist” (hereinafter “business”).
 21
            4.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 22
      owners, subsidiaries, parent companies, employers, employees, agents, corporate
 23
 24   officers, managers, principles and/or representatives of Defendants. Plaintiff is
 25
      unaware of the true names and capacities of Defendants sued herein, as DOES 1
 26
      through 10, inclusive, and therefore, sues those Defendants by fictitious names.
 27
 28   Plaintiff requests that the Court grant leave to amend this complaint to allege the
                                            2
                                        COMPLAINT
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  1   true names and capacities when determined by whatever source.
  2
            5.     Plaintiff alleges that Defendants at all times have been and are relevant
  3
  4   to this cause of action, the owners, franchisees, lessees, general partners, limited

  5   partners, agents, employees, employers, represent partners, subsidiaries, partner
  6
      companies, and/or joint ventures of the remaining Defendants and were acting
  7
  8   within the course and scope of that relationship. Plaintiff is further informed and
  9   believes and alleges that each of the Defendants gave consent to, ratified, and/or
 10
      authorized the acts alleged of each of the remaining defendants.
 11
 12         6.     Plaintiff visited the public accommodations owned and operated by
 13   Defendants with the intent to purchase and/or use the goods, services, facilities,
 14
      privileges, advantages, or accommodations operated and/or owned by Defendants.
 15
 16                             II.    JURISDICTION & VENUE
 17         7.     This Court has subject matter jurisdiction over this action pursuant to
 18
      28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 19
 20   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
 21
            8.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 22
      action, arising from the same nucleus of operative facts and arising out of the same
 23
 24   transactions, is also brought under California’s Unruh Civil Rights Act, which act
 25
      expressly incorporates the ADA.
 26
            9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
 27
 28   founded on the fact that the real property which is the subject of this action is
                                            3
                                        COMPLAINT
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  1   located in this district and that Plaintiff’s cause of action arose in this district.
  2
                                   III.   FACTS
  3
  4          10.    The Property owned by Defendants is a facility which is open to the

  5   public and is a business establishment.
  6
             11.    Plaintiff alleges that the Property has been newly constructed and/or
  7
  8   underwent remodeling, repairs, or alterations since 1992, and that Defendants have
  9   failed to comply with California access standards which applied at the time of each
 10
      new construction and/or alteration or failed to maintain accessible features in
 11
 12   operable working condition.
 13          12.    Plaintiff visited the Property during the relevant statutory period on
 14
      three (3) separate occasions, in December 2019, January 2020 and September 2020
 15
 16   to patronize the business.
 17          13.    Defendants did not offer persons with disabilities with equivalent
 18
      facilities, privileges and advantages offered by Defendants to other patrons.
 19
 20          14.    Plaintiff encountered barriers (both physical and intangible) that
 21
      interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
 22
      services, privileges, and accommodations offered at the Property.
 23
 24          15.    Parking for patrons visiting the Property are among the facilities,
 25
      privileges, and advantages offered by Defendants to patrons of the Property.
 26
             16.    However, there is no accessible parking for disabled patrons. Not one
 27
 28   single space. The parking space designated for disabled persons does not comply
                                              4
                                          COMPLAINT
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  1   with the Americans with Disabilities Act (“ADA”).
  2
            17.    The parking area does not comply with the latest California Building
  3
  4   Codes (“2010 CBC”).

  5         18.    Parking is one of the facilities, privileges, and advantages offered by
  6
      Defendants to patrons of the Property.
  7
  8         19.    When Plaintiff visited the Property, he experienced access barriers
  9   related to parking, signage, and paths of travel.
 10
            20.    Plaintiff encountered the following barriers at Defendant’s Property:
 11
 12
 13
 14         VIOLATION of 2010 CBC § 1129B.1; 1991 ADAS § 4.1.2(5). (Accessible

 15         spaces required.) Where parking is provided, a minimum number of
 16
            accessible spaces are required in accord with the number of total spaces.
 17
 18         They are not provided.
 19
 20
 21         VIOLATION of 2010 California Building Code (CBC) § 1114B.1.2; 1991
 22
            ADA Standards for Accessible Design (ADAS) § 4.3.2(1). (Exterior route
 23
 24         of travel.) An accessible route of travel is not provided to all entrances and
 25
            portions of the building, entrances and/or between the building and a public
 26
            way.
 27
 28
                                            5
                                        COMPLAINT
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  1        VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Path from
  2
           parking – uneven surface.) The path of travel from the parking spaces to the
  3
  4        entrance has damaged ground which is uneven. The damaged ground has

  5        pavement distresses. Parts of the ground surface are not flush. The surface of
  6
           the ground within the designated path of travel leading into the entrance is
  7
  8        not flat. This makes traveling in this area difficult. The path of travel from
  9        the designated disabled parking space to the entrance runs into these
 10
           pavement distresses which has caused changes in level greater than 1/2 inch
 11
 12        but provides no ramps. These steep changes in level create uneven surfaces.
 13        The parking area is riddled with damaged asphalt. These pavement
 14
           distresses are made worse and exacerbated by designs which do not
 15
 16        follow the ADAAG. WARNING: These areas should be fixed
 17        immediately because they are also a tripping and falling hazard.
 18
 19
 20        VIOLATION of 2010 CBC § 1129B.3.1; 2010 ADAS § 502.6; ADAS §
 21
           4.6.3. (Marked path of travel.) There is no marked path of travel from the
 22
 23        parking to the entrance. There is no safe way for Plaintiff to park there and
 24
           then travel to the entrance of the Property. Plaintiff is forced to travel a
 25
           dangerous route, behind parked cars and in the vehicle drive path to move
 26
 27        from the space to the entrance.
 28
                                           6
                                       COMPLAINT
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  1
  2
  3        VIOLATION of 2010 CBC § 1133B.5.1; 1991 ADAS § 4.8.1. (Ramps.)

  4        The accessible route of travel has a slope greater than 1:20 (5%) but is not a
  5
           compliant ramp.
  6
  7
  8
  9        VIOLATION of 2010 CBC § 1133B.5.2. (Minimum width of ramps.) The
 10        ramps do not have a minimum clear width of forty-eight inches (48”).
 11
 12
 13        VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Least
 14        possible slope of ramp.) The least possible slope was not used for the ramp
 15
           leading into the business.
 16
 17
 18
           VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Maximum
 19
 20        slope of ramp.) The slope of the ramp leading into the business is greater
 21        than 8.33%.
 22
 23
 24
           VIOLATION of 2010 CBC § 1133B.5.3.1; 1991 ADAS § 4.8.6. (Maximum
 25
           cross slope of ramp.) The cross slope of the ramp was greater than 2%.
 26
 27
 28
                                            7
                                        COMPLAINT
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  1        VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4. (Level ramp
  2
           landings.) Level ramp landings must be provided at the top and bottom of
  3
  4        each ramp. They are not provided.

  5
  6
           VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4(1). (Width of
  7
  8        ramp landings.) The landing of ramps must be at least twice the width as the
  9        ramp run leading to it, but they are not at least twice as wide.
 10
 11
 12        VIOLATION of 2010 CBC § 1133B.5.4.2; 1991 ADAS §§ 4.8.4(2),
 13
           4.8.4(3). (Minimum landing width and length for top ramp landings.) The
 14
 15        ramp’s top landing is not sixty inches (60”) wide and long as required.
 16
 17
 18        VIOLATION of 2010 CBC § 1133B.5.4.2. (Minimum landing length for
 19
           bottom ramp landings.) The ramp’s bottom landing is not seventy-two inches
 20
 21        (72”) in length as required.

 22
 23
           VIOLATION of 2010 CBC § 1133B.5.4.6; 1991 ADAS § 4.8.4(3).
 24
 25        (Minimum landing size for change of direction in ramp.) The change of

 26        direction in the ramp did not have a minimum landing size of 60” x 60”.
 27
 28
                                          8
                                      COMPLAINT
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  1        VIOLATION of 2010 CBC § 1133B.5.4.9. (Ramp curb.) Required ramps
  2
           shall have a curb at least 2 inches high, or a wheel guide rail 2 to 4 inches
  3
  4        high on each side of the ramp landing that has a vertical drop exceeding 4

  5        inches and that is not bounded by a wall or fence. The ramp did not have a
  6
           curb at least 2 inches high, or an appropriate wheel guide rail.
  7
  8
  9
           VIOLATION of 2010 CBC 1127B.5.7; ADA § 4.7.7 (Detectable Warnings
 10
 11        - Curb Ramp). Detectable warnings extending the full width and depth of the
 12        ramp were not installed where curb ramps lead to an accessible route.
 13
 14
 15
           VIOLATION of 2010 CBC § 1127B.5.1; 2010 ADAS § 406.1; 1991 ADAS
 16
 17        § 4.7.1. (Curb ramp.) The accessible route of travel crosses a curb but there is
 18        not a compliant curb ramp.
 19
 20
 21        VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Interior
 22        changes in level.) Inside the building there were changes in the ground level
 23
           of greater than one-half inch but provided no ramps. This made traversing
 24
 25        this area difficult. The ground surface was not flush.
 26
 27
           VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Front
 28
                                          9
                                      COMPLAINT
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   1        entrance - interior changes in level.) Inside the building, the front door
   2
            entrance had changes in level greater than 1/2 inch but provided no ramps.
   3
   4        This made traversing this area difficult.

   5
   6
            VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Front door
   7
   8        entrance threshold and weather strip changes in level.) Inside the building,
   9        the front door entrance threshold and weather strip has changes in level
  10
            greater than 1/2 inch but provides no ramps. This makes traversing this area
  11
  12        difficult.
  13
  14
            VIOLATION of 2010 CBC § 1127B.1. (No accessible exterior route.)
  15
  16        There was no accessible path of travel into the building entrances. There is
  17        no safe way for Plaintiff to travel from the parking area to the entrance of the
  18
            Property.
  19
  20
  21        VIOLATION of 2010 CBC § 1129B.4(5). (Off-street unauthorized parking
  22
            sign.) An additional sign must be posted in a conspicuous place at all
  23
  24        entrances to off-street parking facilities at Property, or adjacent to and visible
  25
            from each space. It is not.
  26
  27
  28
                                             10
                                          COMPLAINT
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   1         VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
   2
             sign – towed vehicle information.) The unauthorized parking towed vehicle
   3
   4         sign must state information regarding the tow company and telephone

   5         number. This information was not provided.
   6
   7
   8         VIOLATION of 2010 CBC § 1127B.1; 1991 ADAS § 4.6.2(1).
   9
             (Directional signage.) There is no directional signage showing an accessible
  10
  11         path of travel.
  12
  13         21.      These inaccessible conditions denied Plaintiff full and equal access
  14
       and caused difficulty, humiliation, and/or frustration.
  15
  16
             22.      The barriers existed during each of Plaintiff’s visits in 2019 and 2020.

  17         23.      Plaintiff alleges that Defendants knew that the foregoing architectural
  18
       barriers prevented access. Plaintiff will prove that Defendants had actual knowledge
  19
  20   that the architectural barriers prevented access, and that the noncompliance with the

  21   ADA Accessibility Guidelines and Title 24 of the California Building Code was
  22
       intentional.
  23
  24         24.      Plaintiff intends visit the Property again soon. Currently, Plaintiff is

  25   reasonably deterred from returning to Defendants’ public accommodation facilities
  26
       because of the knowledge of barriers to equal access, relating to Plaintiff’s
  27
  28   disabilities, that continue to exist at the Property.

                                              11
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   1         25.    Defendants have failed to maintain in working and useable conditions
   2
       those features necessary to provide ready access to persons with disabilities.
   3
   4         26.    Defendants have the financial resources to remove these barriers

   5   without much expense or difficulty in order to make their Property more accessible
   6
       to their mobility impaired customers. The removal of these barriers is readily
   7
   8   achievable. The United States Department of Justice has determined that removal of
   9   these types of barriers is readily achievable to remove.
  10
             27.    Defendants refuse to remove these barriers.
  11
  12         28.    On information and belief, Plaintiff alleges that Defendants’ failure to
  13   remove these barriers was intentional, because the barriers are logical and obvious.
  14
       During all relevant times, Defendants had authority, control, and dominion over
  15
  16   these conditions; thus, the absence of accessible facilities was not a mishap, but
  17   rather an intentional act.
  18
             29.    These barriers to access are described herein without prejudice to
  19
  20   Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
  21
       access agents, pursuant to Doran v 7-ELEVEN, Inc., 524 F3d 1034 (9th Cir. 2008)
  22
       (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
  23
  24   have all barriers that relate to his or her disability removed, regardless of whether
  25
       he or she personally encountered them).
  26
          IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
  27
  28       WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
                                            12
                                         COMPLAINT
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   1                                  (Against All Defendants)
   2
             30.    Plaintiff alleges and incorporates by reference each and every
   3
   4   allegation contained in all prior paragraphs of this complaint.

   5         31.    Title III of the ADA prohibits discrimination against any person on the
   6
       basis of disability in the full and equal enjoyment of the goods, services, facilities,
   7
   8   privileges, advantages, or accommodations of any place of public accommodation
   9   by any person who owns, leases, or operates a place of public accommodation.
  10
       U.S.C. § 12182(a).
  11
  12         32.    Defendants discriminated against Plaintiff by denying “full and equal
  13   enjoyment” and use of the goods, services, facilities, privileges, or accommodations
  14
       of Defendant’s facility during each visit and each incident of deterred visit.
  15
  16         33.    The acts and omissions of Defendants herein were/are in violation of
  17   Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
  18
             34.     Pursuant to the ADA, discrimination is a “failure to make reasonable
  19
  20   modifications in policies, practices or procedures, when such modifications are
  21
       necessary to afford goods, services, facilities, privileges, advantages or
  22
       accommodations to individuals with disabilities, unless the entity can demonstrate
  23
  24   that making such modifications would fundamentally alter the nature of such goods,
  25
       services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
  26
       12182(b)(2)(A)(ii).
  27
  28         35.    The ADA requires removal of architectural barriers in existing
                                            13
                                         COMPLAINT
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   1   facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv.)
   2
       (“discrimination includes … a failure to remove architectural barriers, and
   3
   4   communication barriers that are structural in nature, in existing facilities, … where

   5   such removal is readily achievable”). The term “readily achievable” is defined as
   6
       “easily accomplishable and able to be carried out without much difficulty or
   7
   8   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
   9   Standards of Accessible Design (“ADAS”), found at 28 C.F.R., Part 36, including
  10
       the ADA Accessibility Guidelines for Buildings and Facilities (“ADAAG”) at Part
  11
  12   36, Appendix A.
  13         36.    If removal of any barrier is not readily achievable, a failure to make
  14
       goods, services, facilities, or accommodations available through alternative
  15
  16   methods is also prohibited if these methods are readily achievable. 42 U.S.C. §
  17   12182(b)(2)(A)(v).
  18
             37.    Plaintiff alleges that Defendants can easily remove the architectural
  19
  20   barriers at their facility without much difficulty or expense, and that Defendants
  21
       violated the ADA by failing to remove those barriers because removal was readily
  22
       achievable. There are companies in the area which can repaint parking areas for as
  23
  24   little as $350. Defendants can afford such costs, which are a fraction of what
  25
       Defendants receive in rental profits for such a large and expensive property.
  26
             38.    Alternatively, if it was not “readily achievable” for Defendants to
  27
  28   remove barriers at their facilities, Defendants violated the ADA by failing to make
                                           14
                                        COMPLAINT
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   1   the required services available through alternative methods, which are readily
   2
       achievable.
   3
   4         39.     On information and belief, the facility was modified after January 26,

   5   1992, mandating compliance access requirements under the ADA.
   6
             40.     The ADA requires that facilities altered in a manner that affects or
   7
   8   could affect their usability must be made readily accessible to individuals with
   9   disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
  10
             41.     Plaintiff alleges that Defendants altered the facilities at the Property in
  11
  12   a manner that violated the ADA, and/or failed to make the Property readily
  13   accessible to physically disabled persons, including Plaintiff, to the maximum
  14
       extent feasible.
  15
  16         42.     The ADA also requires reasonable modifications in policies, practices,
  17   or procedures, when such modifications are necessary to afford goods, services,
  18
       facilities, privileges, advantages, or accommodations to individuals with
  19
  20   disabilities, unless the entity can demonstrate that making such modifications
  21
       would fundamentally alter the nature of such goods, services, facilities, privileges,
  22
       advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
  23
  24         43.     Plaintiff alleges that Defendants violated the ADA by failing to make
  25
       reasonable modifications in policies, practices, or procedures at the Property when
  26
       these modifications were necessary to afford (and would not fundamentally alter the
  27
  28   nature of) the goods, services, facilities, privileges, advantages, or accommodations.
                                             15
                                          COMPLAINT
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   1         44.    Plaintiff seeks a finding from this Court that Defendants violated the
   2
       ADA, so that he may pursue damages under California’s Unruh Civil Rights Act
   3
   4   for Disable Persons Act.

   5         45.    Here Defendants’ failure to make sure that accessible facilities were
   6
       available and ready to be used by the Plaintiff was/is a violation of law.
   7
   8         46.    Plaintiff would like to continue to frequent Defendants’ property
   9   because it is close to his home. However, he is deterred from doing so because he
  10
       has been discriminated against and is aware of accessibility barriers at the Property.
  11
  12         47.    Among the remedies sought, Plaintiff seeks an injunction order
  13   requiring compliance with state and federal access laws, and remediation of all the
  14
       existing access violations at the Property.
  15
  16     V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
  17                                 (Cal. Civ. Code § 51-53.)
  18
                                     (Against All Defendants)
  19
  20         48.    Plaintiff repleads and incorporates by reference, as though fully set
  21
       forth herein, the allegations contained in all prior paragraphs of this complaint.
  22
             49.    California Civil Code § 51 states, in part: “All persons within the
  23
  24   jurisdictions of this state are entitled to the full and equal accommodations,
  25
       advantages, facilities, privileges, or services in all business establishments of every
  26
       kind whatsoever.”
  27
  28         50.    California Civil Code § 51 also states, in part: “No business
                                            16
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   1   establishment of any kind whatsoever shall discriminate against any person in this
   2
       state because of the disability of the person.”
   3
   4            51.   California Civil Code § 51(f) specifically incorporates, by reference,

   5   an individual’s rights under the ADA, into the Unruh Civil Rights Act. (“Unruh
   6
       Act”).
   7
   8            52.   The Unruh Act also provides that a violation of the ADA, or California
   9   state accessibility regulations, is a violation of the Unruh Act Cal. Civ. Code §
  10
       51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D.
  11
  12   Cal. 1994).
  13            53.   Defendants’ above-mentioned acts and omissions have violated the
  14
       Unruh Act by denying Plaintiff his rights to full and equal use of the
  15
  16   accommodations, advantages, facilities, privileges, and services they offer, on the
  17   basis of Plaintiff’s disability.
  18
                54.   Defendants’ above-mentioned acts and omissions have also violated
  19
  20   the Unruh Act by denying Plaintiff his rights to equal access pursuant to the ADA;
  21
       and, thus, Defendants are liable for damages. Cal. Civ. Code § 51(f), 52(a).
  22
                55.   Because violation of the Unruh Act resulted in difficulty, discomfort,
  23
  24   and/or embarrassment for Plaintiff, the Defendants are each also responsible for
  25
       statutory damages, such as a civil penalty. Cal. Civ. Code § 55.56(a)(c).
  26
                56.   Plaintiff was actually damaged.
  27
  28            57.   Plaintiff was damaged by Defendants’ wrongful conduct and seeks
                                             17
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   1   statutory minimum damages of four thousand dollars ($4,000) for each offense.
   2
                                     PRAYER FOR RELIEF
   3
   4                 WHEREFORE, Plaintiff prays for judgment against Defendants, as

   5   follows:
   6
             1. For injunctive relief, compelling Defendants to comply with the
   7
   8              Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
   9              Plaintiff is not invoking section 55 of the California Civil Code and is not
  10
                  seeking injunctive relief under the Disabled Person Acts.
  11
  12         2. Damages under the Unruh Civil Rights Act, which provides for actual
  13              damages and a statutory minimum of $4,000 per each offense.
  14
             3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
  15
  16              42 U.S.C. § 12205, and Cal. Civ. Code § 52.
  17                                      JURY DEMAND
  18
       Plaintiffs demand a trial by jury on all issues so triable.
  19
  20
  21   DATED: November 16, 2020                 THE LAW OFFICE OF HAKIMI & SHAHRIARI
  22
  23                                     By:    /s/ Peter Shahriari, Esq.____________
  24                                            PETER SHAHRIARI, ESQ.
                                                Attorney for Plaintiff, James Shayler
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                                         COMPLAINT
